                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )      Case No. 3:11-cr-00020-2
                                              )      Chief Judge Haynes
AUSTIN MICHAEL EVANS                          )



POSITION OF DEFENDANT AUSTIN MICHAEL EVANS WITH RESPECT TO
 SENTENCING FACTORS AND MOTION FOR A MITIGATED SENTENCE
       AND VARIANCE BELOW THE SENTENCING GUIDELINES

       COMES NOW the Defendant, Austin Michael Evans, by and through his

undersigned counsel, and pursuant to Administrative Order No. 117-3 of the U.S. District

Court for the Middle District of Tennessee and the Order of this Court, hereby files this

position with respect to sentencing factors and request for a mitigated sentence and

variance below the Guidelines, considering factors under 18 U.S.C. § 3553(a).

Defendant Evans respectfully suggests that in weighing the factors in § 3553(a), the

Court should impose a sentence of probation in this case which is below the guideline

range calculated in the presentence report. In United States v. Booker, 543 U.S 220, 245,

125 S.Ct. 738, 160 L.Ed 2d 621 (2005), the Supreme Court held that the Sentencing

Guidelines were advisory. Accordingly, “a district court is permitted to vary from those

guidelines in order to impose a sentence which fits the mandate of [ § ] 3553(a).” United

States v. Collington, 461 F.3d 805, 808 (6th Cir. 2006).

                                           Background

       This case arises out of a government-created reverse sting operation in which an

undercover BATF agent posed as a disgruntled courier/employee for a local cocaine




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organization. The undercover agent represented that he was looking for persons to assist

him in robbing his cocaine employer and initiated a plan to rob his employer’s fictitious

“stash house” supposedly housing kilogram quantities of cocaine and perhaps cash. The

reverse sting was scheduled to occur on December 16, 2010. Austin Evans was eighteen

years old at the time of the offense and had been recruited to participate in the reverse

sting by Codefendant Jesse Pecora. Mr. Pecora was thirty-three years of age at the time

of the offense, was married and had a significant criminal history. Austin Evans had left

home at the age of seventeen and moved in with Mr. Pecora. Evans was only seventeen

when he became associated with Pecora and eighteen when he was invited by Pecora to

participate in the plan.

        On the day of the planned robbery, Messrs. Pecora, Whitaker and Evans met with

the undercover agent at a storage unit in Nashville where the details of the robbery were

discussed. Although Pecora, Whitaker and Evans acted as if they were fully prepared to

accomplish the home invasion robbery, they had no firearms, no ammunition, no

disguises, no flex cuffs to inveigle the drug dealer robbery victims, and no mace or

pepper spray to disable the inhabitants of the stash house. In fact, eighteen-year-old

Evans was dressed for the occasion in a blazer, dress slacks and loafers.

I.     Challenges to the Criminal History Computations. See ¶¶ 22 & 25 (Juvenile
Adjudications), 30 (Judicial Diversion) and 31 (Enhancement for Committing Instant
Offense while under Criminal Justice Sentence).


        The first revised Presentence Report (rec’d 7/22/13) assesses five points for the

Defendant’s criminal history resulting in an inflated Criminal History Category III. The

five points are derived from two juvenile adjudications (2 points), one diversionary

disposition (1 point), and an enhancement for committing the instant offense while under



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the diversionary disposition (2 points). Not only is the assessment of criminal history

points textually inappropriate, it also has the effect of substantially over-representing the

seriousness of Mr. Evans’ criminal history.

A.     Juvenile Adjudications, ¶¶ 22 & 25.

       Paragraphs 22 and 25 assess an aggregate two points for two uncounseled juvenile

adjudications. The assessment of criminal history points for these challenged juvenile

adjudications is inconsistent with the directions supplied by Application Note 7 to

U.S.S.G. §4A1.2:

               Attempting to count every juvenile adjudication would have the
       potential for creating large disparities due to the differential availability of
       records. * * * * Therefore, for offenses committed prior to age eighteen,
       only those that resulted in adult sentences of imprisonment exceeding one
       year and one month, or resulted in imposition of an adult or juvenile
       sentence or release from confinement on that sentence within five years of
       the defendant’s commencement of the instant offense are counted.

A review of the records indicates that no “juvenile sentence” was imposed. Mr. Evans

was merely placed on some form of juvenile probation. The record is silent on whether a

sentence was imposed and specifically whether the imposition of that sentence was

suspended.    There is simply not enough information available to determine if the

challenged juvenile adjudications meet the requirements of Application Note 7.

B.     Judicial Diversion, ¶ 30

       As a juvenile, Mr. Evans was charged in the Juvenile Court for Sumner County,

Tennessee, with burglary and theft. The case was transferred to the Criminal Court for

Sumner County and the Defendant was “tried as an adult.” On July 27, 2010, Mr. Evans

entered into a judicial diversion agreement with the State of Tennessee and the

proceedings were “deferred” pursuant to T.C.A. § 40-35-313 for a term of three years.




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Significantly, there was no adjudication of guilt and no sentence was imposed on Mr.

Evans.

         Under Tennessee law, judicial diversion is a “legislative largess” which permits a

defendant to complete a diversion program and have the charge dismissed and all records

of the arrest, prosecution, etc., expunged. State v. Robinson, 139 S.W.3d 661, 665

(Tenn.Crim.App. 2004). “The purpose of judicial diversion is to avoid placing the stigma

and collateral consequences of a criminal conviction on the defendant, in addition to

providing the defendant a means to be restored fully to useful and productive

citizenship.” State v. Johnson, 980 S.W.2d 410, 413 (Tenn.Crim.App. 1998) (citing State

v. Porter, 885 S.W.2d 93, 93 (Tenn.Crim.App. 1994)). The diversion statute acts to defer

the entry of any judgment of conviction. When a defendant is granted judicial diversion

there is no conviction within the meaning of Tenn.R.Evid. 609. State v. Tolbert, 2000

WL 1172344 (Tenn.Crim.App. Aug. 18, 2000). Since there was no “adjudication of

guilt” found, this diversionary disposition should not be counted pursuant to U.S.S.G. §

4A1.2(f) (“Diversion from the judicial process without a finding of guilt (e.g., deferred

prosecution) is not counted.”) (emphasis added).

C.       2-Point Enhancement, ¶ 31

         If the Court credits the Defendant’s insistence regarding the diversionary

disposition, then there would be no “criminal justice sentence” to trigger the

enhancement contemplated by U.S.S.G. § 4A1.1(d).           The proposed 2-point upward

adjustment pushes Evans into Criminal History Category III.

         Additionally, it would be anomalous for an eighteen-year-old offender to be

assessed 5 criminal history points and saddled with an artificially inflated Criminal




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History Category of III fueled by two juvenile adjudications and another juvenile matter

transferred to adult court. Clearly, Mr. Evans’ criminal history is overstated by the

juvenile adjudications of his youth. A departure is authorized when the Criminal History

Category does not adequately reflect the likelihood of recidivism. U.S.S.G. § 4A1.3, p.s.,

comment (backg’d).

II.    Grounds for Variance/Downward Departure

The circumstances of this case are sufficiently extraordinary to warrant a
variance/downward departure based on the Defendant’s Youth and his Susceptibility to
Codefendant Pecora’s Influence and the Need to Avoid Unwarranted Sentencing
Disparities.

A.     Youth and Susceptibility

       Given the facts of this case, a relevant sentencing consideration is the Defendant’s

age at the time of the offense and his susceptibility to the influence of his then-thirty-

three-year-old Codefendant, Jesse Pecora, who was clearly the leader and organizer in

assembling a crew to carry out the fictitious home invasion robbery of a drug dealer. As

noted above, Evans was only seventeen when he left home and moved in with Mr. Pecora

and his wife. He was eighteen at the time of the indicted conduct. Pecora recruited him

and persuaded him to participate in the robbery. At the time Evans came under the spell

of Mr. Pecora, he had no real life experiences and had dropped out of high school.

Evans’ youth and his susceptibility to Pecora’s influence can be properly considered by

this Court in imposing sentence. United States v. Davis, 458 F.3d 491, 498 (6th Cir.

2006) (stating that “age . . . may indeed be a legitimate basis for a variance”). See also

United States v. Keller, 498 F.3d 316 (6th Cir. 2007). “As compared to adults, juveniles

have a ‘lack of maturity and an underdeveloped sense of responsibility’; they ‘are more

vulnerable or susceptible to negative influences and outside pressures, including peer



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pressure’; and their characters are ‘not as well formed.’” Graham v. Florida, 130 S.Ct.

2011, 2026 (2010) (quoting Roper v. Simmons, 543 U.S. 551, 569-70 (2005)).

B.     The Need to Avoid Unwarranted Sentencing Disparities

       Title 18 U.S.C. § 3553(a)(6) directs that the sentencing judge shall consider “the

need to avoid unwarranted sentence disparities among defendants with similar records

who have been found guilty of similar conduct.” Undersigned counsel represented a

similarly situated defendant in a case styled United States of America v. Adam Yates,

MDTN Case No. 3:11-00112 (Judge Sharp). (However, Mr. Yates was thirty-two years

old at the time of his offense.) The Yates case arose out of another government-created

reverse sting operation in which undercover FBI agents, posing as drug dealers, targeted

the illegal activities and corrupt practices of Richard Wilson, a commissioned officer of

the Metropolitan Nashville Police Department. Richard Wilson recruited Mr. Yates to

assist him with a security detail involving the use of a three-vehicle “motor barricade”

traveling between two locations on June 14, 2011. Although Yates indicated to an

undercover officer that he had a gun, he in fact was unarmed. Similarly, Evans and his

confederates indicated they had firearms but no one was armed. Just like Evans, Yates

was indicted and charged with attempting to distribute five kilograms or more of cocaine

for his role in the government sting. The government filed a superseding Criminal

Information charging misprision of a felony. Yates received a sentence of three years

probation.

       The Sixth Circuit has observed that “this factor concerns national disparities

between defendants with similar criminal histories convicted of similar criminal

conduct—not disparities between codefendants.” United States v. Conatser, 514 F.3d




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508, 521 (6th Cir. 2008). There is a chasm between the recommended advisory guideline

range in Mr. Evans’ presentence report and the sentence of probation imposed in the

Yates case for identical conduct. Clearly, this is precisely the type of “unwarranted

sentence disparit[y]” targeted by 18 U.S.C. § 3553(a)(6).

                                    CONCLUSION

       Defendant Evans respectfully requests that the Court evenly weigh all of the

aforementioned factors and fashion an appropriate sentence in his case.




                                             Respectfully submitted,


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                                                    PETER J. STRIANSE
                                                    Attorney for Defendant Evans




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                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been sent via the
Court’s electronic filing system unless not registered and, in that event deposited in the
United States mail, postage prepaid, to:

                              Philip H. Wehby
                              Assistant United States Attorney
                              110 Ninth Avenue South
                              Suite A961
                              Nashville, TN 37203-3870

                              Via Email
                              Liberty Lander
                              U.S. Probation Officer


       This 23th day of July, 2013.

                                                     S:/ Peter J. Strianse
                                                     PETER J. STRIANSE




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